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5487-15 TMP/ALS                                                                    Friday, 11 January, 2019 11:32:54 AM
                                                                                            Clerk, U.S. District Court, ILCD

                               IN THE UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF ILLINOIS
                                       SPRINGFIELD DIVISION

KELLI ANDREWS, AS ADMINISTRATOR                           )
OF THE ESTATE OF TIFFANY ANN                              )
RUSHER, DECEASED,                                         )
                                                          )
                  Plaintiff,                              )
                                                          )
         v.                                               )             Law No. 18-cv-01100-SEM-TSH
                                                          )
SANGAMON COUNTY ILLINOIS, WES                             )
BARR, LARRY BECK, JR., ADVANCED                           )
CORRECTIONAL HEALTHCARE, INC.,                            )
ARUN ABRAHAM, MICHAEL                                     )
SHMIKLER, KYLE MEYER, Z. WHITLEY,                         )
JENNIFER EALEY, GUY BOUVET III, and                       )
DOES 1-5,                                                 )
                                                          )
                  Defendants.                             )

                ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT1

         NOW COME Defendants WES BARR, LARRY BECK, GUY BOUVET, III,

JENNIFER EALEY, KYLE MEYER, SANGAMON COUNTY, ILLINOIS, and ZACH

WHITLEY, by THERESA M. POWELL, of HEYL, ROYSTER, VOELKER & ALLEN, P.C.,

their attorneys, and for their response to Plaintiff’s First Amended Complaint, state as follows:

                                   I.       NATURE OF THE ACTION

         1.       Tiffany Rusher, who was a pre-trial detainee in the Sangamon County Detention

Facility (“Sangamon Jail”), suffered from severe mental illness. When she entered the Sangamon

Jail in December 2016, the Defendants knew that she was severely mentally ill, that she was at

high risk of suicide, and that she was in need of intensive mental health treatment. The

defendants also knew, or at the very least should have known, that placing a person with


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  Pursuant to Federal Rule of Civil Procedure 15(a)(2), Plaintiff has received the Defendants’ written consent to the
filing of this First Amended Complaint.

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Tiffany’s mental state in solitary confinement would only exacerbate her deteriorated mental

condition, cause severe psychological trauma, and make it more likely that Tiffany would try to

kill herself.

        ANSWER:       Defendants admit that Tiffany Rusher (“Rusher”) was a pre-trial

                      detainee in the Sangamon County Jail at certain times relevant to this

                      cause of action. Defendants admit that she had a history of mental

                      illness as documented by her medical and mental health records.

                      Defendants deny that each individual Defendant had equal

                      understanding of Rusher’s mental illness. Defendants admit that they

                      were aware of certain aspects of Rusher’s mental history at the time

                      she was admitted to the Sangamon County Jail in December of 2016.

                      Defendants admit that Rusher had a documented history of prior

                      suicide attempts. Defendants deny that each individual Defendant

                      had equal knowledge of Rusher’s prior history of suicide attempts.

                      Defendants admit that Rusher was in need of mental health

                      treatment.   Defendants deny that Rusher required mental health

                      treatment beyond what was provided to her or recommended by

                      mental health staff. Defendants deny that any of them participated in

                      providing mental health treatment to Rusher. Defendants deny that

                      the duty owed by each of the Defendants is accurately set forth in this

                      paragraph. Defendants deny the remaining allegations of paragraph

                      1.




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           2.     Nevertheless, the defendants placed Tiffany in solitary confinement, and kept her

there for more than four months. This solitary confinement caused Tiffany’s mental condition to

deteriorate further, but the defendants failed to provide Tiffany with mental health treatment,

compounding the harmful effects of solitary and increasing the risk that she would try to harm

herself.

           ANSWER:       Defendants deny the allegations of paragraph 2.

           3.     What is more, the defendants failed to take adequate steps to guard against the

possibility of suicide, making it easier for Tiffany to harm herself severely. As a direct result of

defendants’ actions and failures to act, Tiffany was found asphyxiated in her cell on March 18,

2017. She died on March 30, 2017, after spending 12 days on life support.

           ANSWER:       Defendants deny the allegations of paragraph 3. Defendants admit,

                         however, that Rusher died on March 30, 2017, after spending a

                         certain amount of time on life support.

           4.     This is an action for compensatory, nominal, and punitive damages, with claims

brought under the Fourteenth Amendment to the United States Constitution pursuant to 42

U.S.C. § 1983, the Americans with Disabilities Act (“ADA”), and the Rehabilitation Act (“RA”)

to redress violations of Tiffany’s rights. Plaintiff also asserts claims against the Defendants

pursuant to the Illinois Wrongful Death Act, 740 ILCS 180, and the Illinois Survival Act, 755

ILCS 5/27-6.

           ANSWER:       Defendants admit that Plaintiff has asserted the claims referenced in

                         this paragraph. Defendants deny that Plaintiff’s claims are valid and

                         further deny that any act or omission on the part of the Defendants

                         caused the injuries sustained by the Plaintiff. Defendants further



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                         deny that all of the counts referenced in this paragraph may be

                         brought against all of the Defendants referenced herein.

                               II.     JURISDICTION AND VENUE

        5.        The Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343(a), as

Plaintiff’s claims are brought under 42 U.S.C. § 1983, the Americans with Disabilities Act, and

the Rehabilitation Act.

        ANSWER:          Defendants admit that jurisdiction is proper. Defendants deny that

                         all of the claims set forth in this paragraph are properly brought

                         against all of the undersigned Defendants.

        6.        The Court has jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C.

§ 1367, as those claims are so related to the federal claims asserted in this Complaint that

Plaintiff’s state law claims form part of the same case or controversy.

        ANSWER:          Defendants admit that the Court may exercise jurisdiction over

                         Plaintiff’s state law claims under § 1367.

        7.        Venue is appropriate pursuant to 28 U.S.C. § 1391(b) because one or more of the

defendants resides in the Central District of Illinois and all events giving rise to the claims

asserted in this lawsuit arose in this judicial district.

        ANSWER:          Defendants admit that venue is proper in the Central District of

                         Illinois.

                                             III. PARTIES

        8.        Plaintiff’s decedent is Tiffany Rusher, who at the time of her death was a twenty-

seven-year-old resident of the State of Illinois. At all times relevant hereto, Tiffany was a pretrial

detainee at the Sangamon Jail.



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       ANSWER:           Defendants admit that Rusher was 27 years old and a resident of the

                         State of Illinois.    Defendants admit that Rusher was a pre-trial

                         detainee at certain times relevant to this lawsuit.

       9.         Plaintiff Kelli Andrews (“Plaintiff”) is Tiffany Rusher’s mother and is the

administrator of Tiffany’s estate, pursuant to an order entered by the Circuit Court for the

Seventh Judicial Circuit of Illinois, Sangamon County.

       ANSWER:           Defendants admit the allegations of paragraph 9 based upon

                         information provided by the Plaintiff.

       10.        Wes Barr is the Sheriff of Sangamon County. In this capacity, he is responsible

for the operation of the Sangamon Jail, which is the pretrial detention facility—i.e., the jail—of

Sangamon County. This responsibility includes a duty to safely house and to provide adequate

medical care for the Sangamon Jail’s detainees. At all times relevant to this case, Sheriff Barr

acted under color of law. He is sued in his individual and official capacities.

       ANSWER:           Defendants deny that Wes Barr is the Sheriff of Sangamon County.

                         Defendants deny that paragraph 10 accurately sets forth the legal

                         duty owed, if any, by Wes Barr at all relevant times. Defendants

                         acknowledge that Plaintiff is claiming to be suing Wes Barr in both

                         his individual and official capacities.       Defendants deny personal

                         involvement as pertains to addressing Rusher’s needs as an inmate in

                         the Sangamon County Jail.

       11.        Larry Beck is the Superintendent of the Sangamon Jail. In this capacity, he is

responsible for the day-to-day operation of the Sangamon Jail. This includes making cell

assignments and ensuring that medical and mental health services are provided to those detainees



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who need such services. At all times relevant to this case, Superintendent Beck acted under color

of law. He is sued in his individual capacity.

        ANSWER:         Defendants admit that Larry Beck is the Superintendent of the

                        Sangamon County Jail. Defendants admit that Larry Beck does have

                        certain responsibilities as it pertains to the Sangamon County Jail.

                        Defendants deny that paragraph 11 accurately sets forth the legal

                        duty of Larry Beck, if any, as it relates to his responsibilities in the

                        Jail in connection with the claims against him by Rusher. Defendants

                        admit that any actions in his capacity as Superintendent would be

                        under color of law.        Defendants acknowledge that the Plaintiff is

                        claiming that he is a Defendant in his individual capacity. Defendants

                        deny personal involvement as it pertains to many of the claims set

                        forth herein.

        12.       Advanced Correctional Healthcare, Inc. (“ACH”) is a private company that

contracted to provide healthcare, including mental healthcare, to detainees of the Sangamon Jail.

In this capacity, ACH also employed defendants Abraham and Shmikler.

        ANSWER:         Defendants admit that ACH is a private company contracted to

                        provide medical healthcare and mental healthcare to detainees at the

                        Sangamon County Jail. Defendants admit Abraham and Shmikler

                        are agents of ACH.

        13.       Dr. Arun Abraham was a medical doctor at the Sangamon Jail and, on

information and belief, was responsible for overseeing the provision of medical and mental

health care of all pretrial detainees at the jail, including Tiffany.



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       ANSWER:           Defendants admit that Dr. Abraham was, and is, a medical doctor

                         who provided services at the Sangamon County Jail pursuant to

                         Sangamon County’s contract with ACH. Defendants admit that Dr.

                         Abraham owed a duty to provide medical and mental health care for

                         certain pre-trial detainees at the Sangamon County Jail, including

                         Rusher.

       14.        Michael Shmikler was a licensed clinical social worker and, on information and

belief, the “qualified mental health professional” described in the contract between ACH and

Sangamon County.

       ANSWER:           Defendants admit that Michael Shmikler was a licensed clinical social

                         worker and provided mental health care pursuant to the contract

                         between Sangamon County and ACH.

       15.        Kyle Meyer is a guard at the Sangamon Jail.

       ANSWER:           Defendants admit the allegations of paragraph 15.

       16.        Z. Whitley is a guard at the Sangamon Jail.

       ANSWER:           Defendants admit the allegations of paragraph 16.

       17.        Jennifer Ealey is a guard at the Sangamon Jail.

       ANSWER:           Defendants admit the allegations of paragraph 17.

       18.        Sgt. Guy Bouvet is a supervising guard at the Sangamon Jail.

       ANSWER:           Defendants admit the allegations of paragraph 18 as it pertains to

                         encounters involving Rusher.

       19.        Sangamon County provides for the budget of the Sangamon County Sheriff’s

Office, including the budget for the Sangamon Jail. Sangamon County contracted with defendant



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ACH for the provision of healthcare, including mental healthcare, to detainees at the Sangamon

Jail, during the time of Tiffany’s detention there. Additionally, Sangamon County is named for

indemnification purposes pursuant to 55 ILCS § 5/5-1002.

       ANSWER:           Defendants admit the allegations of paragraph 19.

       20.        Does 1-5 are sued herein by fictitious names for the reason that their true names

are unknown to Plaintiffs. Plaintiffs will seek leave to amend this complaint to allege the true

names and capacities of these Defendants when their identities have been ascertained. Plaintiffs

are informed and believe, and based thereon allege, that these fictitiously-named defendants are

responsible in some manner for the misconduct alleged herein.

       ANSWER:           Defendants make no response to paragraph 20 as this paragraph does

                         not appear to be directed towards any of the named Defendants in this

                         case. Defendants have no knowledge as to whom Plaintiff is referring

                         as pertains to Does 1-5 at this time.

                                             IV. FACTS

       21.        On or about December 8, 2016, Tiffany was accused of battery while she was a

patient at the McFarland Mental Health Center (“McFarland”), which is located in Springfield,

Illinois. She was arrested at McFarland on December 15, 2016, and she was transported directly

from McFarland for pretrial detention at the Sangamon Jail.

       ANSWER:           Defendants admit that Rusher committed battery while a patient at

                         McFarland, which is located in Springfield, Illinois, in December of

                         2016. Defendants admit that Rusher was arrested on December 15,

                         2016, and that she was transported from McFarland to the Sangamon

                         County Jail thereafter.



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       22.        Upon her arrival at the jail, the Defendants placed her in solitary confinement, and

kept her there until she strangled herself on March 18, 2017.

       ANSWER:           Defendants deny the allegations of paragraph 22.

       23.        Throughout Tiffany’s incarceration at Sangamon Jail, the Defendants were aware

of Tiffany’s mental health history, including her multiple suicide attempts.

       ANSWER:           Defendants admit that certain information was provided to certain

                         individuals at the Sangamon County Jail regarding Rusher’s mental

                         health history. Defendants admit that this history included suicide

                         attempts.    Defendants deny that every Defendant had the same

                         information relating to Rusher.        Defendants further deny that all

                         actions taken by Rusher were suicide attempts.

       24.        Upon Tiffany’s arrival at the Sangamon Jail, jail personnel received a discharge

summary that had been prepared by staff at McFarland. That summary contained a

comprehensive account of Tiffany’s history of severe mental illness, recurrent self-harming

behavior, and numerous suicide attempts. Among other things, the Discharge Summary noted the

following:

       (i)        From October 19, 2014 to April 14, 2016, while incarcerated at the Logan

                  Correctional Center in Lincoln, Illinois, Tiffany made at least ten attempts

                  to hang herself, including by strangulation with a towel.

       (ii)       During the same time period, Tiffany engaged in at least twenty-seven

                  instances of self-harming behavior, including cutting herself, biting

                  herself, banging her head against a wall, and repeatedly swallowing




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                  inedible objects such as ink pens, toilet paper, large segments of celery

                  and carrot sticks, eating utensils, and toothbrushes.

       (iii)      Due to Tiffany’s self-harming behavior, Logan Correctional Center placed

                  her on constant watch from approximately September 11, 2015 to May 3,

                  2016.

       (iv)       On May 3, 2016, Tiffany was discharged directly from Logan Correctional

                  Center to McFarland.

        (v)       Tiffany engaged in self-harming and suicidal behavior during her

                  hospitalization at McFarland. On multiple occasions she swallowed large

                  objects requiring endoscopic removal and on at least two occasions, in

                  June 2016 and September 2016, she attempted self-strangulation.

       (vi)       McFarland provided Tiffany with mental health treatment and monitored

                  her to protect her from harming herself.

       (vii)      Upon her discharge from McFarland on December 15, 2016, Tiffany’s

                  diagnoses included Depression, Antisocial Personality Disorder, and

                  Posttraumatic Stress Disorder.

       ANSWER:            Defendants admit that certain jail personnel received a discharge

                          summary that had been prepared by certain staff at McFarland.

                          Defendants admit that the discharge summary contained certain

                          information regarding Rusher’s prior history of mental illness, self-

                          harming behaviors and suicide attempts. Defendants admit that the

                          discharge summary contains certain information referenced in

                          subparagraphs (i)-(vii).        To the extent the information in



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                         subparagraphs (i)-(vii) is verbatim contained in the discharge

                         summary, Defendants admit that the allegation to the extent Plaintiff

                         is asserting that the summary contains the information. Defendants

                         deny said allegations to the extent the information is not contained

                         word for word in the discharge summary. Defendants admit that

                         there is such a summary. However, since the document is not

                         attached, Defendants cannot be certain of the exact report and

                         language that Plaintiff is relying upon for this allegation.

                         (iv)   Defendants admit that Rusher was transferred from the Logan

                                County Correctional Center to McFarland. Defendants deny

                                that the discharge was direct as counsel believes a hearing

                                regarding her placement was held prior to the transfer and

                                release from the Logan County Correctional Center.

           25.    Additionally, on the day after her admission to the Sangamon Jail, Sangamon Jail

personnel received a phone call from a nurse at McFarland, who explained that Tiffany had been

subject to one-to-one care at McFarland and that she had a history of attempting to asphyxiate

herself.

           ANSWER:       Defendants admit that certain personnel was contacted by personnel

                         at McFarland regarding Rusher. Defendants deny each one of them

                         personally was provided the information set forth in paragraph 25.

                         Defendants further deny that Rusher’s history was limited to attempts

                         to asphyxiate herself. Defendants deny the remaining allegations of

                         paragraph 25.



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       26.        All inmates entering the Sangamon Jail are supposed to undergo a medical

screening, performed as the person enters the facility, and an examination completed by medical

staff within the first fourteen days of incarceration.

       ANSWER:           Defendants admit that the policies of the Sangamon County Jail

                         require that medical personnel, pursuant to the contract with ACH,

                         will perform a medical examination within the first 14 days of

                         incarceration. Defendants deny that paragraph 26 accurately sets

                         forth any constitutional duties, if any, on the part of the Defendants.

       27.        Upon information and belief, Tiffany received a medical screening and underwent

a full medical examination by medical staff at Sangamon Jail within the first fourteen days of her

arrival at the jail, which provided Defendants with additional information about Tiffany’s mental

health, including her risk for suicide.

       ANSWER:           Defendants admit that Rusher received a medical screening within the

                         first 14 days at the Sangamon County Jail. Defendants admit that

                         medical and mental health staff were aware of Rusher's history

                         relating to her health status and potential risks for suicide.

                         Defendants admit that certain jail personnel were also made aware of

                         this information including, but not limited to, Larry Beck.

                         Defendants deny that each of the undersigned Defendants was

                         provided with this information at the same time.

       28.        Indeed, on December 15, 2017 a nurse at Sangamon Jail wrote an order that

Tiffany should be allowed to eat only “finger foods” in light of her tendency to asphyxiate

herself by swallowing things.



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       ANSWER:          Defendants admit that nurses at the Sangamon County Jail wrote

                        orders limiting Rusher to finger foods at certain times in order to

                        protect herself. Defendants deny that each of them was personally

                        aware of said information at all times. However, Defendants admit

                        that such orders were in place for Rusher at certain times.

       29.        Then on December 16, 2017, Tiffany was evaluated by Michael Shmikler,

LCSW, who was designated as a “mental health professional” at the jail. Indeed Mr. Shmikler

would evaluate Tiffany repeatedly during her detention at the Sangamon Jail, by interviewing her

through the door of her cell.

       ANSWER:          Defendants admit the allegations of paragraph 29 to the extent the

                        same is documented in Rusher’s mental health or medical records.

                        Defendants admit that Shmikler would have interviewed Rusher

                        through the door of her cell, but cannot confirm that this was always

                        the case unless specifically documented.

       30.        On multiple occasions in 2017, Dr. Arun Abraham, a physician at the Sangamon

Jail employed by ACH, assessed Tiffany as having Bipolar Disorder and Schizoaffective

Disorder, and documented that assessment in a medical progress note.

       ANSWER:          Defendants    admit     that   Dr.   Abraham    assessed    Rusher    and

                        documented     her     as   suffering   from    bipolar    disorder   and

                        schizoaffective disorder as same may be documented in his progress

                        notes.   As this allegation is not directed towards the undersigned

                        Defendants, Defendants would defer to Dr. Abraham’s response as to

                        whether he conducted his own personal assessment of Rusher’s



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                         mental health status or if he relied upon others’ assessments and

                         merely documented an existing diagnosis or one that had been

                         previously made.

       31.        On January 19, 2017, Tiffany attempted suicide by strangling herself in her cell

with the strap of a medical boot.

       ANSWER:           Defendants admit that Rusher attempted to harm herself by using the

                         strap of a medical boot. Defendants deny the remaining allegations of

                         paragraph 31.

       32.        On multiple occasions be, Michael Shmikler, a social worker for ACH, described

Tiffany as “high-risk” due to the known danger that she presented to herself.

       ANSWER:           Defendants admit the allegations in paragraph 32.

       33.        Upon information and belief, all Defendants knew about Tiffany’s mental illness,

her numerous prior attempts to commit suicide, her need for mental health treatment, and the

substantial risk of self-harm that she presented to herself. Indeed, jail staff even taped a “HIGH

RISK” sign outside of her cell:




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           ANSWER:           Defendants deny the allegations of paragraph 33 to the extent Plaintiff

                             alleges that all Defendants were aware of Rusher’s mental illness to

                             the extent described in her medical records and/or in this complaint.

                             Defendants admit that Rusher was designated as high risk.

                             Defendants deny that a sign was taped onto Rusher’s cell. Defendants

                             admit that the clipboard associated with Rusher at her cell included

                             reference to her being high risk with specific information about the

                             nature of her risks attached to the clipboard.

           34.      Even though the Defendants knew that Tiffany was mentally ill and required

mental health treatment, they provided her with no treatment and instead kept her in solitary

confinement—which they knew would damage her further and increase her risk of suicide.

           ANSWER:           Defendants deny the allegations of paragraph 34.

           35.      While in solitary confinement, Tiffany was deprived of all property. She was

deprived of all meaningful social contact with other people. She was stripped naked, barred from

having any undergarments or other clothing, but for an anti-suicide blanket. She was not

permitted a television or radio, books, magazines, paper, pen or pencil, or anything else she

could possibly have used to pass her time in jail while awaiting trial. The only thing she was

permitted was a suicide blanket. This is a photograph2 of her cell:




2
    All photographs in this complaint were produced to Plaintiff by the Defendants.

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       ANSWER:     Defendants   deny     that    Rusher   was     in   solitary   confinement.

                   Defendants admit that Rusher was deprived of certain property due

                   to her propensity to eat inanimate objects. Defendants admit that

                   Rusher’s access to clothing was limited but deny the claims set forth

                   in paragraph 35. Defendants admit that Rusher was restricted from

                   having certain property at certain times. Defendants deny that any

                   restrictions on Rusher were done for punitive purposes or for any

                   reason other than to prevent her from harming herself or others.

                   Defendants admit that the above photograph does appear to be a

                   photograph of Rusher’s cell at certain times relevant to this lawsuit.

                   Defendants deny that the photograph fairly and accurately depicts the

                   way the cell would have looked at any time Rusher was in it as

                   pertains to items viewed in the photograph. Defendants admit that




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                        the photograph was provided to Plaintiff by defense counsel in

                        discovery.

       36.        It is universally recognized that isolation and solitary confinement for any

significant period of time is likely to make a person suffering from mental illness even worse,

creating a substantial and increased risk of harm. Indeed, decades before the Defendants placed

Tiffany in solitary confinement, one federal court observed that “placing [mentally ill prisoners

in solitary confinement] is the mental equivalent of putting an asthmatic in a place with little air

to breathe,” Madrid v. Gomez, 889 F. Supp. 1146, 1265 (N.D. Cal. 1995), because such prisoners

“are at a particularly high risk for suffering very serious or severe injury to their mental health,

including overt paranoia, psychotic breaks with reality, or massive exacerbations of existing

mental illness as a result of the conditions” in solitary confinement. Id. Federal courts around the

country have recognized the same thing; the U.S. Court of Appeals for the Seventh Circuit has

observed that the conditions of solitary confinement “aggravate[] the symptoms of [a prisoner’s]

mental illness and by doing so inflict[] severe physical and especially mental suffering,” Scarver

v. Litscher, 434 F.3d 972, 977 (7th Cir. 2006), and that there is a “scientific consensus . . . that

prisoners held in solitary confinement experience serious, often debilitating— even irreparable—

mental and physical harm[] . . . .” Wallace v. Baldwin, 895 F.3d 481, 484-85 (7th Cir. 2018)

(citation omitted)).

       ANSWER:          Defendants deny the allegations of paragraph 36 and further deny

                        that citations to the law are appropriate allegations of fact in a federal

                        pleading and would move to strike said allegations. Defendants deny

                        that Rusher was placed in solitary confinement as that term is used in




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                         paragraph 36. Defendants deny that the cases cited in paragraph 36

                         address a situation or condition of confinement at issue in this case.

       37.        Depriving a person who is actively suicidal of all meaningful social contact for an

extended period of time is not a method of treatment recognized by any competent medical

authority. It is certain to make the person worse, not better, increasing their risk of suicide. For

this reason, leading correctional standard-setting bodies provide specifically that such

confinement should not occur. For example, the National Commission on Correctional Health

Care Standards for Mental Health Services in Correctional Facilities states that “[i]nmates who

are seriously mentally ill should not be confined under conditions of extreme isolation.” The

American Correctional Association has concluded that seriously mentally ill prisoners such as

Tiffany should not be placed in solitary confinement for more than 30 days. The Association of

State Correctional Administrators “believe[s] that lengthy stays [in solitary confinement]

manufacture or increase mental illness.” And the American Bar Association Treatment of

Prisoner Standards similarly advises that “[p]risoners diagnosed with serious mental illness

should not be housed in settings that exacerbate their mental illness or suicide risk, particularly in

settings involving sensory deprivation or isolation.”

       ANSWER:           Paragraph 37 is a paragraph of opinions with which Defendants may

                         or may not agree with depending on the situation. Defendants deny

                         that Rusher was denied all meaningful social contact for an extended

                         period of time. Defendants deny that Rusher was deprived of all

                         meaningful social contact as a method of treatment. Defendants deny

                         that Rusher was confined under conditions of extreme isolation.

                         Defendants deny that Rusher was housed in solitary confinement nor



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                         was she housed in solitary confinement for more than 30 days.

                         Defendants deny that Rusher was housed in a manner involving

                         sensory deprivation or isolation.

       38.        The Defendants’ policies, and their conduct, flatly ignored and contradicted this

accepted knowledge. It was the policy of the Sangamon County Sheriff’s Office to place persons

suffering from mental illness or in danger of suicide in solitary confinement for indefinite

periods. That was precisely the policy the Sheriff’s Office pursued with Tiffany, holding her in

solitary confinement for more than four months, from the day she arrived in December 2016 to

the day she strangled herself in March 2017. Over the course of Tiffany’s confinement, no effort

was made to provide her with any form of regular social interaction outside her cell, or otherwise

ameliorate the conditions of her isolation.

       ANSWER:           Defendants deny the allegations of paragraph 38.

       39.        Over the multiple months of Tiffany’s confinement, the Defendants provided no

counseling or mental health treatment to her. It was not ordered or sought by Dr. Abraham, Mr.

Shmikler, or any other official in the jail. The only interaction Tiffany had with any mental

health professional was with Mr. Shmikler, who would occasionally interview her through a slot

in the locked door of her cell. These sessions with Mr. Shmikler were not therapeutic, however;

they were intended simply to assess Tiffany’s housing assignment.

       ANSWER:           Defendants deny the allegations of paragraph 39. Defendants deny

                         that paragraph 39 sets forth a duty owed by any of the undersigned

                         Defendants. Defendants deny that they had a duty to recommend

                         medical or mental health care treatment beyond or different from the

                         treatment recommended by medical or mental health staff who were



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                         seeing Rusher.     Defendants deny Plaintiff’s assessment of the

                         treatment provided by agents of ACH.

       40.        The Sheriff’s Office had an agreement with an outside entity so that detainees

whose mental health needs are beyond the services that can be provided at the jail could be

transferred to an appropriate facility, but even though Tiffany was transferred to the jail from a

state mental hospital, no effort was made by any of the Defendants, including Dr. Abraham and

Mr. Shmikler, to determine whether Tiffany should be transferred to an outside mental health

facility—instead, upon her admission Tiffany was simply put in solitary confinement, and was

kept there.

       ANSWER:           Defendants admit that Sangamon County had an agreement with

                         ACH to provide mental health and medical needs to inmates in the

                         Sangamon County Jail. Defendants deny the remaining allegations of

                         paragraph 40.

       41.        Despite their actual knowledge of Tiffany’s need for intense mental health

treatment, defendants Barr, Beck, Abraham, Shmikler, and/or Does 1-5 failed to provide any

mental health treatment for Tiffany. Instead, these defendants arranged for Tiffany to be placed

in solitary confinement, where they knew she would be harmed instead of helped, from

December 2016 through March 18, 2017.

       ANSWER:           Defendants deny the allegations of paragraph 41. Defendants deny

                         that paragraph 41 accurately sets forth the duty, if any, owed by

                         Defendant Barr and Beck to Rusher. Defendants deny the remaining

                         allegations of paragraph 41.




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       42.        The placement of Tiffany in solitary confinement and the failure to provide her

with mental health treatment or a referral to outside services was additionally the result of

policies consciously chosen by Sangamon County, ACH, and the Sangamon County Sheriff:

       (i)        Sangamon County’s final decisionmakers repeatedly agreed to contracts

                  with ACH that provided for minimal-to-no coverage by mental health

                  professionals;

       (ii)       ACH agreed to contracts in which its employees provided no mental

                  health treatment whatsoever, including to detainees as seriously mentally

                  ill as Tiffany, and pursuant to ACH’s policies and practices its employees,

                  including Defendants Abraham and Shmikler, indeed provided Tiffany

                  with no mental healthcare;

       (iii)      The Sangamon County Sheriff had no policies prohibiting placement of

                  mentally ill prisoners in prolonged solitary confinement, had no policies

                  mandating assessment for referrals to outside mental health facilities, and

                  had no policies that actually mandated treatment and counseling of

                  mentally ill prisoners.

       ANSWER:           Defendants         deny     the   allegations   of   paragraph   42   and   all

                         subparagraphs thereunder.

       43.        By placing Tiffany in prolonged solitary confinement, the Defendants increased

the risk that she would commit suicide. They then compounded this risk by failing adequately to

protect her from harming herself.

       ANSWER:           Defendants deny the allegations of paragraph 43.




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        44.       Tiffany was not under observation, as required by all recognized suicide

prevention protocols. Rather, her cell was placed in a hallway with no direct line of sight by jail

staff, meaning that the only time jail staff saw her was on 15-minute intervals during their tours

of the jail.

        ANSWER:           Defendants deny the allegations of paragraph 44.

        45.       At the same time Defendants Barr, Beck, and/or Does 1-5 compounded the risk

that Tiffany would harm herself by failing adequately to prevent Tiffany from accessing a

number of items that she used to harm herself.

        ANSWER:           Defendants deny the allegations of paragraph 45.

        46.       As a direct result of the actions and failures to act of defendants Barr, Beck,

and/or Does 1-5, Tiffany was able to engage in open and obvious self-harming and suicidal

behavior consistent with her diagnosis upon entering the Sangamon Jail. For example:

        (i)       On January 12, 2017, Tiffany swallowed a plastic spoon and was

                  transferred from the Sangamon Jail to Memorial Medical Center in

                  Springfield, Illinois, for treatment.

        (ii)      On January 19, 2017, Tiffany tried to strangle herself with a strap from a

                  protective medical boot worn on an injured foot.

        (iii)     On January 29, 2017, Tiffany swallowed a toothbrush and was transferred

                  from the Sangamon Jail to Memorial Medical Center in Springfield,

                  Illinois, for treatment.

        (iv)      On February 3, 2017, Tiffany tried to swallow a whole apple core.

        (v)       On February 10 and 11, 2017, Tiffany was placed in restraints because she

                  cut a wound in her hand and chewed on her hand until it bled.



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       (vi)       On February 12, 2017, Tiffany swallowed mattress stuffing.

       (vii)      On February 24, 2017, Tiffany put toilet paper up her nose and said she

                  could not breathe.

       (viii) On February 25, 2017, Tiffany was again placed in restraints because of

                  self-harming behavior that caused her arm to bleed.

       (ix)       On March 12, 2017, Tiffany was again placed in restraints for engaging in

                  self-harm by scratching her arms on the underside of the concrete bunk in

                  her cell until her arms bled.

       (x)        On March 15, 2017, Tiffany swallowed a plastic bag.

       ANSWER:           Defendants      deny     the   allegations   of   paragraph   46   and   all

                         subparagraphs thereunder.

       47.        On March 18, 2017 Tiffany asked Defendants Meyer or Whitley to allow her to

take a shower; the shower facilities were located down the hall from her cell.

       ANSWER:           Defendants admit the allegations of paragraph 47.

       48.        Meyer or Whitley asked the supervisor, Defendant Bouvet, who approved the

shower without giving any special instruction, even though he knew that allowing Tiffany to

shower unmonitored would present multiple opportunities for self-harm.

       ANSWER:           Defendants deny the allegations of paragraph 48.

       49.        Meyer and Whitley escorted Tiffany to the shower and allowed her to shower

alone behind a closed door.

       ANSWER:           Defendants admit that Meyer and Whitley escorted Rusher to the

                         shower. Defendants admit that Rusher was allowed to shower alone.

                         Defendants deny the remaining allegations of paragraph 49.



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        50.       At some point before, during or after her shower, Meyer, Whitley, or Defendant

Ealey provided Tiffany with a bright orange towel and let her use it unsupervised, also behind a

closed door. On information and belief, when the defendants gave Tiffany the towel it was in

good condition, with all its stitched edges intact.

        ANSWER:          Defendants admit that the towel was in good condition to the extent

                         that it was appropriate for an inmate to use to dry off after a shower.

                         Defendants deny that all of the towels had perfectly stitched edges

                         intact.

        51.       When Tiffany was down toweling off, Meyer, Whitely, and/or Ealey allowed to

Tiffany to dress unsupervised into a suicide-proof “turtle suit.”

        ANSWER:          Defendants deny the allegations of paragraph 51 as stated.

                         Defendants admit that Officer Ealey assisted Rusher in helping her

                         put on her new smock after she came out of the shower.

        52.       On information and belief, during the time that the officers left Tiffany

unsupervised, she tore off a long strip of towel along one of its stitched edges, and hid the strip

under her turtle suit so that she could use it to harm herself in her cell.

        ANSWER:          Defendants deny the allegations of paragraph 52.

        53.       Although Meyer, Whitely, and/or Ealey may not have personally observed

Tiffany tear the towel, one or more of them would or should have noticed that the towel was now

ripped, and that Tiffany left several strands of towel thread behind in the shower area.

        ANSWER:          Defendants deny the allegations of paragraph 53.




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       54.        Photos taken by investigators in the shower area show that anyone who inspected

the shower area after Tiffany dressed unsupervised would have seen the bright orange threads

and realized that Tiffany tore the towel in some way while she was alone.

       ANSWER:           Defendants deny the allegations of paragraph 54. Defendants further

                         deny that the photographs taken reflect an accurate and fair depiction

                         of the shower as it looked at the time Rusher left it on March 18, 2017.

       55.        Indeed, after Tiffany completed her shower, Defendant Ealey entered the shower

room, saw the towel on the shower floor, and noted that it was ripped, but decided not to

investigate further. Had she done so, or had she simply inspected the shower room, Ealey would

have discovered multiple strands of ripped towel in the shower-room toilet, indicating that

Tiffany had ripped the towel:




       ANSWER:           Defendants deny the allegations of paragraph 55.

       56.        Instead of conducting any sort of sweep or inspection, however, Ealey simply

escorted Tiffany back to her cell.

       ANSWER:           Defendants deny the allegations of paragraph 56.



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        57.        There was then a prolonged period, lasting approximately 15 minutes, during

which Tiffany was unsupervised. None of the defendants responsible for monitoring Tiffany,

including Defendants Meyers or Whitley, checked on her. She used this time to strangle herself

inside her cell.

        ANSWER:           Defendants admit that after Rusher took her shower, she apparently

                          had taken strips of her towel to use in an effort to strangle herself.

                          Defendants deny that this period of time lasted more than 15 minutes.

                          Defendants admit that Rusher was allowed to remain in her cell

                          without constant monitoring.       Defendants deny that they were

                          personally responsible for monitoring Rusher on a constant basis at

                          any time. Defendants admit that Rusher committed suicide by using a

                          portion of a towel she used to dry herself on March 18, 2017.

        58.        Despite the known risk that Tiffany would strangle herself and that jail inmates

who are at risk of suicide require special care, defendants Barr, Beck, and Bouvet failed to

develop policies and protocols to warn correctional officers of the specific risks of suicide and

establish protocols to prevent suicide.

        ANSWER:           Defendants deny the allegations of paragraph 58 and deny that

                          paragraph 58 accurately sets for the duties, if any, owed by the

                          Defendants.

        59.        These same defendants also failed to establish protocols or policies that would

prevent suicidal inmates from using towels to strangle themselves. They failed to provide such

inmates with only rip-proof towels; they failed to require that use of towels be supervised to




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ensure they would not be ripped; and they failed to require that towels be checked afterwards to

ensure they had not been ripped.

       ANSWER:           Defendants deny the allegations of paragraph 59. Defendants further

                         deny that paragraph 59 sets forth a duty, if any, owed to Rusher.

       60.        As a result, Tiffany was deprived of oxygen to her brain for a lengthy period of

time sufficient to cause irreparable damage to her brain. An autopsy later conducted by the

Sangamon County Coroner noted that Tiffany “was found unresponsive in her cell, with a strip

of hand towel wrapped tightly around her neck.”

       ANSWER:           Defendants admit that Rusher was deprived of oxygen to her brain

                         for a lengthy period of time sufficient to cause irreparable brain

                         damage. Defendants deny that such was the result of any wrongdoing

                         on their part. Defendants admit that an autopsy was later conducted.

                         To the extent the coroner’s report specifically contains the words set

                         forth in paragraph 60, Defendants admit that the report so states.

                         Defendants admit that there was a strip of hand towel around

                         Rusher’s neck.      Defendants deny the remaining allegations of

                         paragraph 60.

       61.        On March 18, 2017, Tiffany was transferred from Sangamon Jail to St. John’s

Hospital in Springfield, Illinois and was placed on life support.

       ANSWER:           Defendants admit the allegations of paragraph 61.

       62.        On March 30, 2017, Tiffany died as a result of the injuries she had sustained

while in Defendants’ custody. An autopsy conducted by the Sangamon County Coroner

concluded that Tiffany’s death was caused by self-inflicted and deliberate ligature strangulation.



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       ANSWER:           Defendants admit that Rusher died on March 30, 2017. Defendants

                         admit the remaining allegations of paragraph 62.

                                 COUNT I: Fourteenth Amendment
                                    Against: All Defendants

       63.        Each paragraph of this complaint is incorporated as if fully restated here.

       ANSWER:           Defendants assert each response to the paragraphs of this complaint

                         as incorporated and fully restated herein.

       64.        Tiffany suffered from a serious condition that presented a substantial risk to her

health or safety.

       ANSWER:           Defendants admit that Rusher posed a substantial risk of harm to

                         herself at certain times.

       65.        In the manner described more fully above, each of the Defendants acted with

deliberate indifference to Tiffany’s condition and/or they acted in an objectively unreasonable

manner in response to her condition.

       ANSWER:           Defendants deny the allegations of paragraph 65.

       66.        The misconduct described in this count caused harm to Tiffany, including severe

emotional distress and physical injuries during the time she was confined to the jail, and

ultimately her death.

       ANSWER:           Defendants deny the allegations of paragraph 66.

       WHEREFORE, Defendants pray that this Court would enter judgment in favor of the

Defendants and against the Plaintiff, plus costs of suit.

                            AFFIRMATIVE DEFENSES TO COUNT I

       NOW COME Defendants WES BARR, LARRY BECK, GUY BOUVET, III,

JENNIFER EALEY, KYLE MEYER, SANGAMON COUNTY, ILLINOIS, and ZACH


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WHITLEY, by THERESA M. POWELL, of HEYL, ROYSTER, VOELKER & ALLEN, P.C.,

their attorneys, and for their affirmative defenses to Count I of Plaintiff’s First Amended

Complaint, state as follows:

       1.         Each Defendant sued in his or her individual capacity is entitled to qualified

immunity.

                           DEFENDANTS DEMAND TRIAL BY JURY

                            COUNT II: Americans with Disabilities Act
                               Against: Barr (official capacity)

       67.        Each paragraph of this complaint is incorporated as if fully restated here.

       ANSWER:           Defendant reasserts the Defendants’ responses to paragraphs 1

                         through 66 as and for Defendant Barr’s responses to paragraph 67 as

                         fully set forth herein as pertains to the claim against him in his official

                         capacity.

       68.        Congress enacted the ADA “to provide a clear and comprehensive national

mandate for the elimination of discrimination against individuals with disabilities.” 42 U.S.C. §

12101(b)(1). Title II of the ADA states that “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the benefits of services,

programs, or activities of a public entity, or be subjected to discrimination by any such entity.”

42 U.S.C. § 12132.

       ANSWER:           Defendant admits that there is a statute passed by Congress referred

                         to as the Americans with Disabilities Act. Defendant admits that the

                         statute was directed to eliminate discrimination against individuals

                         with disabilities.     Defendant denies any violation of the Act.

                         Defendant denies that Wes Barr, as Sheriff had a custom, policy or


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                         practice which resulted in unlawful discrimination against Rusher

                         due to any qualifying disability she may have suffered as defined by

                         the Act.

       69.        To prevent discrimination, 28 C.F.R. § 35.130(b)(7) requires a public entity to

“make reasonable modifications in policies, practices, or procedures when the modifications are

necessary to avoid discrimination on the basis of disability, unless the public entity can

demonstrate that making the modifications would fundamentally alter the nature of the services,

program, or activity.”

       ANSWER:           Defendant admits that 28 C.F.R. § 35.130(b)(7) contains the language

                         set forth in paragraph 69.        Defendant denies that this provision

                         supports a claim that Rusher was discriminated against in the

                         Sangamon County Jail or that she was discriminated against due to a

                         qualifying disability in the context of the ADA.

       70.        The Sangamon County Sheriff’s Office is a public entity as defined in 42 U.S.C. §

12131(1).

       ANSWER:           Defendant admits that 42 USC § 12131(1) defines the term “public

                         entity” as any State or local government. Defendant admits that the

                         County is a local government. Defendant denies that the Sheriff’s

                         Office is a public entity as the Sheriff is an elected official.

       71.        At all times relevant to this Complaint, in light of her severe mental illness,

Tiffany was a qualified individual with a disability within the meaning of Title II of the ADA, 42

U.S.C. § 12131(2), and had a right not to be subjected to discrimination on the basis of her

disability by Defendant.



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       ANSWER:          Defendant denies the allegations of paragraph 71.

       72.        Due to her mental illnesses, Tiffany frequently contemplated and engaged in

suicidal behavior and could not take adequate care of herself.

       ANSWER:          Defendant admits that Rusher took actions to harm herself at certain

                        times. Defendant admits that Rusher had difficulty with certain tasks

                        at certain times. Defendant denies the remaining allegations of

                        paragraph 72.

       73.        As a detainee at the Sangamon Jail, Tiffany was wholly dependent upon Sheriff

Barr for basic daily needs and appropriate accommodations, including mental health care and

accommodation. Individuals in the custody of defendant are also dependent on the defendant for

all of their basic daily needs, including food, exercise, and safety.

       ANSWER:          Defendant denies that Rusher was dependent on Sheriff Barr

                        personally as alleged in paragraph 73. Defendant admits that while

                        Rusher was incarcerated in the Sangamon County Jail, she was

                        provided appropriate accommodations and mental health care.

                        Defendant admits that Rusher’s basic daily needs were provided for

                        by the jail during her incarceration there.

       74.        Under the Title II of the ADA and 28 C.F.R. § 35.130(a), Sheriff Barr is

responsible for ensuring that individuals in his custody with known disabilities are provided with

reasonable accommodations to prevent discrimination on the basis of disability and are not, on

the basis of disability, excluded from participation in or denied the benefits of services,

programs, or activities because of their disability.




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        ANSWER:          Defendant denies the allegations of paragraph 74 and denies that

                         paragraph 74 accurately sets forth the duties owed to Rusher by this

                         Defendant.

        75.       In the manner described more fully above, Sheriff Barr failed reasonably to

accommodate Tiffany’s known and obvious disability and discriminated against her because of

her disability.

        ANSWER:          Defendant denies the allegations of paragraph 75.

        76.       As a result of the wrongful conduct of the Sheriff’s Office, Tiffany’s mental

health condition was greatly exacerbated, and she was subjected to unnecessary pain and

suffering, and she died.

        ANSWER:          Defendant denies the allegations of paragraph 76.

        WHEREFORE, Defendants pray that this Court would enter judgment in favor of the

Defendants and against the Plaintiff, plus costs of suit.

                            AFFIRMATIVE DEFENSES TO COUNT II

        NOW COMES Defendant WES BARR, by THERESA M. POWELL, of HEYL,

ROYSTER, VOELKER & ALLEN, P.C., his attorneys, and for his affirmative defenses to Count

II of Plaintiff’s First Amended Complaint, states as follows:

        1.        Defendant is entitled to qualified immunity.

                           DEFENDANTS DEMAND TRIAL BY JURY

                                   COUNT III: Rehabilitation Act
                                   Against: Barr (official capacity)

        77.       Each paragraph of this complaint is incorporated as if fully restated here.

        ANSWER:          Defendant asserts each response to the paragraphs of this complaint

                         as incorporated and fully restated herein.


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        78.       The purpose of the Rehabilitation Act is to ensure that no “qualified individual

with a disability in the United States . . . shall, solely by reason of [ ] disability, be excluded from

the participation in, be denied the benefits of, or be subjected to discrimination under any

program or activity receiving Federal financial assistance . . . .” 29 U.S.C. § 794(a).

        ANSWER:          Defendant admits the allegations of paragraph 78.

        79.       Tiffany was, at all times relevant to this complaint, a qualified individual with a

disability within the meaning of the Rehabilitation Act, 29 U.S.C. § 705(2), and has a right not to

be subjected to discrimination on the basis of her disability. 29 U.S.C. § 794(a).

        ANSWER:          Defendant denies that Rusher was a qualified individual under the

                         Act. Defendant denies that Rusher was discriminated against in any

                         way which violates the Act referenced in paragraph 79.

        80.       The Sangamon County Sheriff’s Office receives Federal financial assistance

within the meaning of 29 U.S.C. § 794(a).

        ANSWER:          Defendant admits that Sangamon County may receive federal funds

                         associated with certain programs. Defendant denies that the Sheriff’s

                         Office specifically receives funding directly from the federal

                         government. Defendant denies that Rusher was denied access to any

                         program or activity in violation of the Act referenced herein.

        81.       The Sheriff’s Office constitutes “program[s] or activit[ies]” within the meaning of

29 U.S.C. § 794(b)(1)(A)-(B) and/or (b)(2)(B) and was required to comply with the

Rehabilitation Act.

        ANSWER:          Defendant denies the allegations of paragraph 81. Defendant admits

                         that Sangamon County may be required to comply with the Act.



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                         Defendant denies that he as an elected official must personally comply

                         with the Act.

        82.       In the manner described more fully above, Sheriff Barr failed reasonably to

accommodate Tiffany’s known and obvious disability and discriminated against her because of

her disability.

        ANSWER:          Defendant denies the allegations of paragraph 82.

        83.       As a result of the wrongful conduct of the Sheriff’s Office, Tiffany’s mental

health condition was greatly exacerbated, and she was subjected to unnecessary pain, suffering,

and death.

        ANSWER:          Defendant denies the allegations of paragraph 83.

        WHEREFORE, Defendant prays that this Court would enter judgment in favor of the

Defendant and against the Plaintiff, plus costs of suit.

                           AFFIRMATIVE DEFENSES TO COUNT III

        NOW COMES Defendant WES BARR, by THERESA M. POWELL, of HEYL,

ROYSTER, VOELKER & ALLEN, P.C., his attorneys, and for his affirmative defenses to Count

III of Plaintiff’s First Amended Complaint, state as follows:

        1.        Defendant is entitled to qualified immunity.

                           DEFENDANTS DEMAND TRIAL BY JURY

                           COUNT IV: Wrongful Death (740 ILCS 180)
                                   Against: All defendants

        84.       Each paragraph of this complaint is incorporated as if fully restated here.

        ANSWER:          Defendants assert each response to the paragraphs of this complaint

                         as and for the responses to the paragraphs Plaintiff incorporates

                         herein.


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       85.        Defendants had a duty to protect Tiffany from harm when such harm was

reasonably foreseeable.

       ANSWER:           Defendants deny this allegation and further deny that the allegations

                         of paragraph 85 accurately set forth the duty (duties), if any, owed by

                         each Defendant to Rusher.

       86.        Defendants breached that duty.

       ANSWER:           Defendants deny the allegations of paragraph 86.

       87.        As a result of defendants’ breach of that duty, Tiffany died.

       ANSWER:           Defendants deny the allegations of paragraph 87.

       88.        Tiffany’s next of kin have suffered damages from the loss of Tiffany, including

grief, sorrow, mental suffering, and loss of society.

       ANSWER:           Defendants deny the allegations of paragraph 88.

       WHEREFORE, Defendants pray that this Court would enter judgment in favor of the

Defendants and against the Plaintiff, plus costs of suit.

                           AFFIRMATIVE DEFENSES TO COUNT IV

       NOW COME Defendants WES BARR, LARRY BECK, GUY BOUVET, III,

JENNIFER EALEY, KYLE MEYER, SANGAMON COUNTY, ILLINOIS, and ZACH

WHITLEY, by THERESA M. POWELL, of HEYL, ROYSTER, VOELKER & ALLEN, P.C.,

their attorneys, and for their affirmative defenses to Count IV of Plaintiff’s First Amended

Complaint, state as follows:

       1.         To the extent any state law claim is based upon an act or omission occurring more

than one year before the filing of this action, said claims are barred by the statute of limitations.

745 ILCS 10/8-101(a).



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        2.        Defendants are entitled to tort immunity under 745 ILCS 10/4-105 which

provides that:

                         Neither a local public entity nor a public employee is liable for
                         injury proximately caused by the failure of the employee to furnish
                         or obtain medical care for a prisoner in his custody; but this
                         Section shall not apply where the employee, acting within the
                         scope of his employment, knows from his observation of
                         conditions that the prisoner is in need of immediate medical care
                         and, through willful and wanton conduct, fails to take reasonable
                         action to summon medical care. Nothing in this Section requires
                         the periodic inspection of prisoners.

        3.        Defendants are entitled to tort immunity under 745 ILCS 10/4-103.

        4.        Defendants are entitled to tort immunity under 745 ILCS 10/2 which prohibits

punitive damages.

        5.        Defendants are entitled to tort immunity under 745 ILCS 10/2-202 as it relates to

any claim sounding in negligence.

        6.        Defendants are entitled to tort immunity under 745 ILCS 10/2-109 for any claim

against the governmental entity based upon an act or omission of its employee where the

employee is not liable.

        7.        Defendants are entitled to tort immunity under any applicable provision relating

to Plaintiff’s state law claims.

                           DEFENDANTS DEMAND TRIAL BY JURY

                          COUNT V: Survival Act and Funeral Expenses
                                   Against: All defendants

        89.       Each paragraph of this complaint is incorporated as if fully restated here.

        ANSWER:          Defendants assert each response to the paragraphs of this complaint

                         as incorporated and fully restated herein.




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          90.     Count VI is alleged against Defendants in their individual capacities and brought

by Plaintiff as Tiffany’s personal representative in her capacity as administrator of Tiffany’s

estate.

          ANSWER:        Defendants admit the allegations of paragraph 90 but deny the

                         validity of the claims asserted.

          91.     This count is brought pursuant to the Survival Act, 755 ILCS 5/27-6, for the

medical, funeral and burial expenses and the pain and suffering experienced by Tiffany prior to

her death.

          ANSWER:        Defendants admit that Plaintiff has brought such claims, under

                         paragraph 91 but deny its applicability to all Defendants.

          92.     As a result of one or more of the willful and wonton acts or omissions described

in the previous paragraphs, Tiffany experienced suicidal thoughts, decline in mental health,

agitation, mental abuse, punishment, pain and suffering, and other injuries including medical

expenses prior to her death.

          ANSWER:        Defendants deny the allegations of paragraph 92.

          93.     As a direct and proximate result of the death of Tiffany, the estate incurred

funeral and burial expenses.

          ANSWER:        Defendants deny the allegations of paragraph 93.

          WHEREFORE, Defendants pray that this Court would enter judgment in favor of the

Defendants and against the Plaintiff, plus costs of suit.

                           AFFIRMATIVE DEFENSES TO COUNT V

          NOW COME Defendants WES BARR, LARRY BECK, GUY BOUVET, III,

JENNIFER EALEY, KYLE MEYER, SANGAMON COUNTY, ILLINOIS, and ZACH



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WHITLEY, by THERESA M. POWELL, of HEYL, ROYSTER, VOELKER & ALLEN, P.C.,

their attorneys, and for their affirmative defenses to Count V of Plaintiff’s First Amended

Complaint, state as follows:

        1.        To the extent any state law claim is based upon an act or omission occurring more

than one year before the filing of this action, said claims are barred by the statute of limitations.

745 ILCS 10/8-101(a).

        2.        Defendants are entitled to tort immunity under 745 ILCS 10/4-105 which

provides that:

                         Neither a local public entity nor a public employee is liable for
                         injury proximately caused by the failure of the employee to furnish
                         or obtain medical care for a prisoner in his custody; but this
                         Section shall not apply where the employee, acting within the
                         scope of his employment, knows from his observation of
                         conditions that the prisoner is in need of immediate medical care
                         and, through willful and wanton conduct, fails to take reasonable
                         action to summon medical care. Nothing in this Section requires
                         the periodic inspection of prisoners.

        3.        Defendants are entitled to tort immunity under 745 ILCS 10/4-103.

        4.        Defendants are entitled to tort immunity under 745 ILCS 10/2 which prohibits

punitive damages.

        5.        Defendants are entitled to tort immunity under 745 ILCS 10/2-202 as it relates to

any claim sounding in negligence.

        6.        Defendants are entitled to tort immunity under 745 ILCS 10/2-109 for any claim

against the governmental entity based upon an act or omission of its employee where the

employee is not liable.

        7.        Defendants are entitled to tort immunity under any applicable provision relating

to Plaintiff’s state law claims.



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                           DEFENDANTS DEMAND TRIAL BY JURY

                                 COUNT VI: Respondeat Superior
                                        Against: Barr

       94.        Each paragraph of this complaint is incorporated as if fully restated here.

       ANSWER:           Defendants assert each response to the paragraphs of this complaint

                         as incorporated and fully restated herein.

       95.        Sheriff Wes Barr employed various Sangamon Jail personnel and staff who

provided inadequate care to Tiffany and/or insufficiently monitored Tiffany while working in the

course and scope of their employment.

       ANSWER:           Defendant denies the allegations of paragraph 95.

       96.        Sheriff Wes Barr, by and through his employees, is liable for all Defendants’

aforementioned unlawful acts that were the direct and proximate cause of Tiffany’s injuries, and

her death on March 30, 2017.

       ANSWER:           Defendant denies the allegations of paragraph 96. Defendant further

                         denies that paragraph 96 accurately states the duty, if any, owed by

                         Defendant Barr as pertains to the actions of County employees.

       WHEREFORE, Defendants pray that this Court would enter judgment in favor of the

Defendant Barr and against the Plaintiff, plus costs of suit.

                           AFFIRMATIVE DEFENSES TO COUNT VI

       NOW COMES Defendant WES BARR, by THERESA M. POWELL, of HEYL,

ROYSTER, VOELKER & ALLEN, P.C., his attorneys, and for his affirmative defenses to Count

VI of Plaintiff’s First Amended Complaint, states as follows:




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        1.        To the extent any state law claim is based upon an act or omission occurring more

than one year before the filing of this action, said claims are barred by the statute of limitations.

745 ILCS 10/8-101(a).

        2.        Defendant is entitled to tort immunity under 745 ILCS 10/4-105 which provides

that:

                         Neither a local public entity nor a public employee is liable for
                         injury proximately caused by the failure of the employee to furnish
                         or obtain medical care for a prisoner in his custody; but this
                         Section shall not apply where the employee, acting within the
                         scope of his employment, knows from his observation of
                         conditions that the prisoner is in need of immediate medical care
                         and, through willful and wanton conduct, fails to take reasonable
                         action to summon medical care. Nothing in this Section requires
                         the periodic inspection of prisoners.

        3.        Defendant is entitled to tort immunity under 745 ILCS 10/4-103.

        4.        Defendant is entitled to tort immunity under 745 ILCS 10/2 which prohibits

punitive damages.

        5.        Defendant is entitled to tort immunity under 745 ILCS 10/2-202 as it relates to

any claim sounding in negligence.

        6.        Defendant is entitled to tort immunity under 745 ILCS 10/2-109 for any claim

against the governmental entity based upon an act or omission of its employee where the

employee is not liable.

        7.        Defendant is entitled to tort immunity under any applicable provision relating to

Plaintiff’s state law claims.

                           DEFENDANT DEMANDS TRIAL BY JURY

                                    COUNT VII: Indemnification
                                     Against: Sangamon County

        97.       Each paragraph of this complaint is incorporated as if fully restated here.


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        ANSWER:          Defendant asserts each response to the paragraphs of this complaint

                         as incorporated and fully restated herein.

        98.       Illinois law provides that public entities are directed to pay any tort judgments for

compensatory damages for which employees are liable within the scope of their employment

activities.

        ANSWER:          Defendant admits the allegations of paragraph 98.

        99.       Defendants Barr, Beck, and Does 1-5 were employees and agents of Defendants

Sangamon County and/or the Office of the Sheriff of Sangamon County and acting within the

scope of their employment in committing the misconduct described herein.

        ANSWER:          Defendant Barr was not an employee of Sangamon County but an

                         elected official to the office of Sheriff of Sangamon County during

                         certain times relevant to Plaintiff’s claim. Defendant Beck admits

                         that he was, and is, an employee of Sangamon County. Defendant

                         denies knowledge of any status of Does 1-5 as such persons are

                         unknown and unidentified.            Defendants Barr and Beck deny

                         committing any misconduct and all remaining allegations of

                         paragraph 99.

        100.      Sangamon County is obligated by Illinois law to pay any judgment relating to the

operation of the Sangamon Jail entered against the Sangamon County Sheriff’s Office and its

agents and employees.

        ANSWER:          Defendant admits that there is an indemnification statute applicable

                         to certain judgments.        Defendant admits that the County is a

                         necessary party pursuant to the Indemnification Statute. Defendant



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                         denies that this statute provides that the County is obligated to pay

                         “any” judgment without restriction.

        WHEREFORE, Defendant prays that this Court would enter judgment in favor of the

Defendant and against the Plaintiff, plus costs of suit.

                          AFFIRMATIVE DEFENSES TO COUNT VII

        NOW COMES Defendant SANGAMON COUNTY, ILLINOIS, by THERESA M.

POWELL, of HEYL, ROYSTER, VOELKER & ALLEN, P.C., its attorneys, and for its

affirmative defenses to Count VII of Plaintiff’s First Amended Complaint, state as follows:

        1.        To the extent any state law claim is based upon an act or omission occurring more

than one year before the filing of this action, said claims are barred by the statute of limitations.

745 ILCS 10/8-101(a).

        2.        Defendant is entitled to tort immunity under 745 ILCS 10/4-105 which provides

that:

                         Neither a local public entity nor a public employee is liable for
                         injury proximately caused by the failure of the employee to furnish
                         or obtain medical care for a prisoner in his custody; but this
                         Section shall not apply where the employee, acting within the
                         scope of his employment, knows from his observation of
                         conditions that the prisoner is in need of immediate medical care
                         and, through willful and wanton conduct, fails to take reasonable
                         action to summon medical care. Nothing in this Section requires
                         the periodic inspection of prisoners.

        3.        Defendant is entitled to tort immunity under 745 ILCS 10/4-103.

        4.        Defendant is entitled to tort immunity under 745 ILCS 10/2 which prohibits

punitive damages.

        5.        Defendant is entitled to tort immunity under 745 ILCS 10/2-202 as it relates to

any claim sounding in negligence.



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          6.      Defendant is entitled to tort immunity under 745 ILCS 10/2-109 for any claim

against the governmental entity based upon an act or omission of its employee where the

employee is not liable.

          7.      Defendant is entitled to tort immunity under any applicable provision relating to

Plaintiff’s state law claims.

          8.      Sangamon County asserts all of the aforementioned affirmative defenses

identified herein as and for its affirmative defenses to the claims for indemnification against it.

          9.      Sangamon County’s duty to indemnify can be no greater that the duty of its

agents.

                           DEFENDANTS DEMAND TRIAL BY JURY

                                      V. RELIEF REQUESTED

          WHEREFORE, Defendants pray that this Court would enter judgment in favor of the

Defendants and against the Plaintiff, plus costs of suit, as well as any other relief the Court may

deem appropriate.

                                VI.    DEMAND FOR JURY TRIAL

          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Defendants hereby

demand a trial by jury in this action of all issues and affirmative defenses so triable.

                     DEFENDANTS DEMAND TRIAL BY JURY AS TO
               ALL ALLEGATIONS, DEFENSES AND AFFIRMATIVE DEFENSES

                                                       Respectfully Submitted,

                                                       WES BARR, LARRY BECK and
                                                       SANGAMON COUNTY, ILLINOIS,
                                                       Defendants

                                                       s/ Theresa M. Powell
                                                       Theresa M. Powell, IL ARDC #: 6230402
                                                       Alisha L. Sheehan, IL ARDC #: 6320311


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Springfield, IL 62711-6261
Phone: 217.522.8822, Ext. 2222/2219
Fax: 217.523.3902
Email: tpowell@heylroyster.com
       asheehan@heylroyster.com

                                     PROOF OF SERVICE

        I hereby certify that on January 11, 2019, I electronically filed the foregoing instrument,
ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT, with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to the following:

        Alexis G. Chardon                                           Attorneys for Plaintiff
        Stephen H. Weil
        WEIL & CHARDON LLC
        333 South Wabash Avenue
        Suite 2700
        Chicago, IL 60604
        Email: ali@weilchardon.com
        Email: steve@weilchardon.com

        -and-

        Nicole Rae Schult
        Alan Mills
        Elizabeth Mazur
        UPTOWN PEOPLE’S LAW CENTER
        4413 North Sheridan
        Chicago, IL 60640
        Email: nicole@uplcchicago.org
        Email: alan@uplcchicago.org
        Email: liz@uplcchicago.org

and I hereby certify that I have mailed on January 11, 2019, by United States Postal Service the
foregoing instrument, ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT, to the
following non-CM/ECF participants:

        None

                                                     s/ Theresa M. Powell
                                                                    Theresa M. Powell
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